Case 1:22-cv-00219-WES-PAS Document 17 Filed 08/17/22 Page 1 of 5 PageID #: 261




                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF RHODE ISLAND


     KRISTEN PIERSON,                                         Case No. 1:22-cv-00219-WES-PAS

                        Plaintiff,

       v.                                                     PLAINTIFF’S SCHEDULING
                                                              CONFERENCE STATEMENT
     GOLOCALPROV, LLC, and THE FENTON
     GROUP, LLC,

                        Defendants.


            Pursuant to the Notice of Rule 16(b) Scheduling Conference (Doc. No. 16) and L.R. Cv.

 16(b), Plaintiff, Kristen Pierson, submits her scheduling conference statement as follows:

            1. Facts of the Case

            As alleged in the Complaint (Doc. No. 1), Plaintiff is an award-winning photographer who

 specializes in event and live-music photography, as well as in portraiture. (Doc. No. 1 at ¶ 9). On

 September 23, 2014, she registered the copyright in a photograph of Robert Nardolillo, and she is

 the copyright owner. (Id. at ¶ 11).

            Plaintiff   alleges      Defendants   own   and    operate   a   website   at   the   URL

 <www.golocalprov.com>. (Id. at ¶ 12).1 Prior to November 1, 2018, a copy of the photograph

 appeared at no less than 11 URLs at the golocalprov.com website without Plaintiff’s permission.

 (Id. at ¶¶ 13-14). Plaintiff notified Defendants that such use was infringing. (Id. at ¶¶ 16 & 19).

 Instead of abiding Plaintiff’s request to cease infringing, Defendants falsely claimed they had a

 license. (Id. at ¶¶ 17 & 18). The picture was again published without Plaintiff’s permission on

 December 30, 2021. (Id. at ¶ 22).



 1
     Defendant The Fenton Group, LLC, denies owning or operating the website.
                                                    -1-
Case 1:22-cv-00219-WES-PAS Document 17 Filed 08/17/22 Page 2 of 5 PageID #: 262




        Additionally, at no time was Plaintiff’s authorship of the photograph credited on the

 website. (Id. at ¶ 22). Instead, the website stated that “all the materials available on the Site are

 the property of GoLocalProv.com, LLC”. (Id.).

        2. Elements of the Claims with Description of Facts in Support Thereof

        Plaintiff brings two causes of action against Defendants: a) Copyright Infringement, and

 b) Violation of the Digital Millennium Copyright Act (17 U.S.C. § 1202). The elements and the

 supporting facts are as follows:

                a) Copyright Infringement

        “A claim for copyright infringement requires a plaintiff to demonstrate that it has registered

 its copyright, that it owns a valid copyright, and that a defendant has copied original elements of

 the copyrighted work.” Alifax Holding SpA v. Alcor Sci. Inc., No. 14-440 S, 2017 U.S. Dist. LEXIS

 39677, at *7 (D.R.I. Mar. 20, 2017) (Smith, U.S.D.J.) citing Airframe Sys., Inc. v. L-3 Commc'ns

 Corp., 658 F.3d 100, 105 (1st Cir. 2011).

        As set forth in the Complaint, Plaintiff registered and owns the copyright in an image of

 Robert Nardolillo, Copyright Reg. No. VA0001926344 (Sept. 23, 2014). (Doc. No. 1 at ¶ 11, and

 Ex. 1 thereto). Defendants do not contest this in their Answer, leaving Plaintiff to her proof. (Doc.

 No. 12 at ¶ 11).

        Plaintiff alleges Defendants copied the work at the URLs identified in the Complaint.

 (Doc. No. 1 at ¶¶ 14 & 22). Defendant GoLocalProv, LLC, admits the image was published at

 those URLs (and Defendant The Fenton Group, LLC, denies ownership or control over the

 website). (Doc. No. 12 at ¶¶ 14 & 22).




                                                 -2-
Case 1:22-cv-00219-WES-PAS Document 17 Filed 08/17/22 Page 3 of 5 PageID #: 263




                b) Violation of the Digital Millennium Copyright Act (17 U.S.C. § 1202)

        “The [Digital Millennium Copyright Act] prohibits the use of false [Copyright

 Management Information], and provides that ‘No person shall knowingly and with the intent to

 induce, enable, facilitate, or conceal infringement provide copyright management information that

 is false, or distribute or import for distribution copyright management information that is false.’

 17 U.S.C. § 1202(a).” Iconics, Inc. v. Massaro, 192 F. Supp. 3d 254, 271 (D. Mass. 2016).

 “[Copyright Management Information] is limited to eight categories of information, including the

 title of a work, the author of a work, the copyright owner of a work, and the terms and conditions

 for using a work, among others.” Id. at 272 citing 17 U.S.C. § 1202(c).

        As set forth in the Complaint, Plaintiff registered and owns the copyright in an image of

 Robert Nardolillo, Copyright Reg. No. VA0001926344 (Sept. 23, 2014). (Doc. No. 1 at ¶ 11, and

 Ex. 1 thereto). Defendants do not contest this in their Answer, leaving Plaintiff to her proof. (Doc.

 No. 12 at ¶ 11).

        On the website, Defendants do not credit Plaintiff as the copyright owner, instead asserting

 that “all the materials available on the Site are the property of GoLocalProv.com, LLC”. (Doc.

 No. 1 at ¶ 23.) Plaintiff alleges this was done to conceal the underlying copyright infringement.

 (Id. at ¶ 63). Defendants deny these allegations. (Doc. No. 12 at ¶¶ 23 & 63).

        3. Identification of Legal Issues Which May Arise

        The parties anticipate that the following legal issues may arise in the case:

                a) Whether Defendant The Fenton Group, LLC, has ownership or control of the

                    website;

                b) Whether Defendants had a license or other permission to use the photograph;

                c) Whether the use of the photograph constituted fair use; and



                                                 -3-
Case 1:22-cv-00219-WES-PAS Document 17 Filed 08/17/22 Page 4 of 5 PageID #: 264




              d) Whether infringement of the copyright was willful and/or intentional.

       The foregoing identification of issues is without prejudice to raising other legal issues.

       Dated: August 17, 2022.                Respectfully Submitted,
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                                               -4-
Case 1:22-cv-00219-WES-PAS Document 17 Filed 08/17/22 Page 5 of 5 PageID #: 265




                                                              Case No. 1:22-cv-00219-WES-PAS

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 17, 2022, I electronically filed the foregoing
 document with the Clerk of the Court using CM/ECF. I further certify that a true and correct copy

 of the foregoing document being served via transmission of Notices of Electronic Filing generated
 by CM/ECF.

                                             /s/ Sean M. McAteer
                                             Sean M. McAteer, 4118




                                               -5-
